52 F.3d 320NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Rusty Allen BENNETT, Plaintiff-Appellant,v.John L. KING, II, Chief;  Art Ashley, Sheriff, Defendants-Appellees.
    No. 94-7353.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 28, 1995.Decided April 19, 1995.
    
      Appeal from the United States District Court for the Southern District of West Virginia, at Charleston.  Charles H. Haden II, Chief District Judge.  (CA-92-950-2)
      Rusty Allen Bennett, appellant pro se.  Kenneth Eugene Knopf, Earl Wilson Maxwell, Cleek, Pullin, Knopf &amp; Fowler, Charleston, WV, for appellees.
      S.D.W.Va.
      AFFIRMED.
      Before NIEMEYER, Circuit Judge, and BUTZNER and PHILLIPS, Senior Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order dismissing his 42 U.S.C. Sec. 1983 (1988) complaint.  Appellant's case was referred to a magistrate judge pursuant to 28 U.S.C. Sec. 636(b)(1)(B) (1988).  The magistrate judge recommended that relief be denied and advised Appellant that failure to file timely objections to this recommendation could waive appellate review of a district court order based upon the recommendation.  Despite this warning, Appellant failed to object to the magistrate judge's recommendation.
    
    
      2
      The timely filing of objections to a magistrate judge's recommendation is necessary to preserve appellate review of the substance of that recommendation when the parties have been warned that failure to object will waive appellate review.  Wright v. Collins, 766 F.2d 841, 845-46 (4th Cir.1985).  See generally Thomas v. Arn, 474 U.S. 140 (1985).  Appellant has waived appellate review by failing to file objections after receiving proper notice.  Accordingly, we affirm the judgment of the district court.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    